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 AO 91 (Rev. 11/11) Criminal Complaint



                                     UNITED STATES DISTRICT COUR T
                                                                 for the
                                                       Southern District of Ohio

                  United States of America                          )
                                v.                                  )
                   DE-LOVE KOFI AMUZU                               )      Case No.    1:21-mj-977
                a/k/a DELOVE KOFI AMUZU                             )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and
                                                                                                                  belief.
On or about the date(s) of August 2018 through October 2020 in the counties of
                                                                                                 Butler and Hamilton        in the
     Southern          District of _ _ _ _O_h_io_ _ _ _ , the defendant(s) violated:

             Code Section                                                   Offense Description
 18 u.s.c. 1349                                  Conspiracy to Commit Mail Fraud




          This criminal complaint is based on these facts:
See attached affidavit of FBI Special Agent Aaron Bauder




          if Continued on the attached sheet.

                                                                                            Complainant's signature

                                                                                      Aaron Bauder, Special Agent, FBI
                                                                                             Printed name and title

Sworn to before me and signed in my presence.
via FaceTime video

Date:     Dec 21, 2021

                                         Cincinnati, Ohio
                                                                               United States Magistrate Judge
City and state:
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF omo

IN THE MATTER OF THE CRIMINAL                         )
COMPLAINT OF:                                         )
                                                      )       Case No. 1:21-mj-977
DE-LOVE KOFI AMUZU                                    )
a/k/a DELOVE KOFI AMUZU                               )
                                                      )

                         AFFIDAVIT IN SUPPORT OF
                 CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Aaron Bauder, a Special Agent with the Federal Bureau of Investigation, being duly

sworn, hereby depose and state as follows:

                    INTRODUCTION AND AGENT BACKGROU ND

        1.     I submit this affidavit in support of a criminal complaint and arrest warrant

against DE-LOVE KOFI AMUZU a/k/a DELOYE KOFI AMUZU for a violation of 18

U.S.C. § 1349 (Conspiracy to Commit Mail Fraud).

       2.      I have been employed as a Special Agent with the FBI since 2019 and am

currently assigned to the White Collar Crimes Squad of the Cincinnati Field Office. In this

capacity, I investigate white collar crimes, including civil rights violations, money laundering,

and various types of fraud. Since 2019, I have received training and experience in interview

and interrogation techniques, arrest procedures, search warrants, and various other

investigative techniques. As an FBI Special Agent, I am responsible for enforcing, and for

investigating violations of, United States laws dealing with financial fraud, including

violations of 18 U.S.C. § 1349.

       3.      The facts in this Affidavit are based on my personal knowledge as well as on

information I learned from other sources, including law enforcement databases, reports




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prepared by other law enforcement officers, and conversations I have had with other law

enforcement officers and witnesses involved in this investigation.

       4.       Because I am submitting this affidavit for the limited purpose of securing a

criminal complaint and arrest warrant, I have not included every fact that I know about this

investigation; I have set forth only those facts that I believe are necessary to establish

probable cause to believe that AMUZU has violated 18 U.S.C. § 1349.

                            STATEMENT OF PROBABLE CAUSE

   A. Introduction and Background on "Romance Fraud" Schemes

       3.       The FBI and the U.S. Attorney's Office for the Southern District of Ohio are

investigating a suspected "romance fraud" scheme being perpetrated by DELOYE KOFI

AMUZU and others known and unknown. As I explain below, the evidence shows that, in

furtherance of the scheme to defraud, AMUZU knowingly, and with the intent to defraud,

received mailings in the Southern District of Ohio.

        4.       Based on my training and experience, I know the following about romance

fraud schemes:

        a. Perpetrators of romance fraud schemes commonly create false profiles on dating

             websites using false information and stolen pictures of individuals. In this

             Affidavit, I will call these imaginary attractive individuals the "Romantic

             Partner(s)."

        b. The perpetrators use the false online profiles to initiate contact with victims.

             Once the perpetrators have initiated contact with a victim, pretending to be a

             Romantic Partner, they communicate with the victim primarily by messaging




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            services. By expressing romantic interest in the victim, the perpetrators mislead the

            victim into believing he or she is in a relationship with the Romantic Partner.

      c. The perpetrators commonly represent that the Romantic Partner is currently

            abroad, providing a justification as to why the Romantic Partner is never able to

            meet the victim in person.

       d. Once the victim believes he or she is in a romantic relationship with the Romantic

            Partner, the perpetrators begin asking the victim to send money and/or other items

            of value. Commonly, the Romantic Partner falsely represents that he or she is

            expecting a large inheritance of gold bars and is seeking to bring the gold bars to

            the United States. The Romantic Partner induces the victim to send money to pay

            for expenses associated with the gold inheritance. Other false representations that

            Romantic Partners commonly make are that they need money for a plane ticket to

            visit the victim, money for bail after being falsely imprisoned, or money to pay

            medical bills. In fact, the money and valuables the victims send to the perpetrators

            are used for other purposes.

       B.       In 2018, VICTIM 1 developed an online romantic relationship with
                someone calling himself "Marvin Anderson," who directed VICTIM 1 to
                send him thousands of dollars.

       5.       I interviewed VICTIM 1 in March 2020. VICTIM 1 told me that, in

approximately April 2018, VICTIM 1 met an individual online who called himself"Marvin

Anderson." After speaking with Anderson by phone and email, VICTIM 1 developed what

she believed was a romantic relationship with Anderson.




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         6.    VICTIM 1 said Anderson spoke with a foreign accent. VICTIM 1 said

Anderson claimed to live near VICTIM 1 but said he was working on a construction project in

Egypt.

         7.    At some point, Anderson said he and his daughter were traveling to Egypt, and

he asked VICTIM 1 to send money to assist with their travel costs, which VICTIM 1 did.

VICTIM 1 estimated that, in total, she had sent Anderson approximately $75,000.

         8.    VICTIM 1 said that, in August 2018, she told Anderson that ifhe wanted to

continue their relationship, he would have to meet her in person. Anderson declined, and the

relationship ended.

         C.    After breaking up with "Anderson," VICTIM 1 met "Dion Wilson," who
               directed her to mail valuables to AMUZU in Cincinnati, Ohio.

         9.    VICTIM 1 said that, later in August 2018, shortly after breaking up with

"Anderson," VICTIM 1 met an individual online who went by the name "Dion Wilson."

VICTIM 1 said that Wilson, like Anderson, spoke with a foreign accent.

         10.    Wilson told VICTIM 1 he knew two FBI agents in Egypt who could assist

VICTIM 1 in finding Anderson and retrieving her money. Wilson put VICTIM 1 in touch

with one of the alleged FBI agents, "Carol." VICTIM 1 said that, at Carol's request, VICTIM

1 had sent Carol $25,000 to begin looking for Anderson.

         11.   VICTIM 1 said Wilson then introduced her to a person I will call

COCONSPIRATOR 1, who Wilson said was his banker. Wilson told VICTIM 1 that

COCONSPIRATOR 1 would handle the financial side of the investigation. VICTIM 1 said

that, when she spoke with COCONSPIRATOR 1 by phone, he also had a foreign accent.




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       12.    VICTIM 1 shared her bank information with COCONSPIRATOR 1, and

between September and November of 2018, she noticed money being stolen from her

accounts and from her home equity loan. When she addressed the issue with Wilson, he

blamed COCONSPIRATOR 1 for "stealing from us."

       13.    VICTIM 1 said Wilson also asked her to purchase items for what he described

as his coffee bean business, "Evergreen." VICTIM 1 said Wilson had provided a link to a

website with a video about the company and had shown her information showing that

Evergreen's bank account contained $23 million.

       14.    VICTIM 1 said that, at Wilson's direction, she had purchased several items,

such as computers, iPhones, iPads, laptops, and Rolex watches, and mailed these items to

AMUZU in Cincinnati, Ohio. VICTIM 1 never spoke directly with AMUZU, but Wilson told

VICTIM 1 that AMUZU was in the process of purchasing Evergreen.

       D.     Wilson also directed VICTIM 1 to send money to accounts controlled by
              AMUZU, allegedly to assist with the sale of Evergreen to AMUZU.

       15.    VICTIM 1 said that, at Wilson's direction, she also sent money to accounts in

the name of Obdomdel Management Agency LLC, an Ohio LLC whose registered agent is

(and at the time was) AMUZU.

       16.    Records from VICTIM 1's :financial accounts show that on November 8, 2018,

a wire transfer for $97,000 cleared from VICTIM 1 's account at Canvas Credit Union to an

account at Bank of America in the name of Obdomdel Management Agency LLC, with an

account number ending in 9130 ("Bank of America Account 9130"). At the time of the

transaction, AMUZU was listed as the sole owner/signer on Bank of America Account 9130,

which had a registered address of 11 Camelot Circle Apt. J in Fairfield, Ohio.




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       17.     Bank records also show that, the next day, November 9, 2018, a wire transfer

for $85,000 cleared from Obdomdel Management Agency LLC's Bank of America Account

9130 account to a bank account in Ghana (AMUZU's home country). The subject line for the

wire said, "PURCHASE OF HOUSE."

        18.    Bank records also show that on November 10, 2018, VICTIM 1 sent a

cashier's check from Canvas Credit Union, payable to Obdomdel Management Agency LLC

(AMUZU's LLC), for $101,000. On November 13, 2018, the check cleared to an account in

the name of Obdomdel Management LLC, with an account number ending in 7163, at Wells

Fargo Bank ("Wells Fargo Account 7163"). As of that date, AMUZUwas the sole owner and

signer on Wells Fargo Account 7163, which had a registered address of 11 Camelot Circle

Apt. J in Fairfield, Ohio.

       E.      VICTIM 2 began a romantic relationship online with "Christian
               Coleman," who directed VICTIM 2 to send money to accounts controlled
               byAMUZU.

        19.    An Investigator for the Butler County Prosecutor's Office interviewed

VICTIM 2 in April and October 2019. An FBI agent interviewed VICTIM 2 again via

telephone in May 2020.

        20.    VICTIM 2 said that, in approximately 2017, she met an individual who called

himself "Christian Coleman" on the online dating website "Plenty of Fish," and the two

developed a romantic relationship. VICTIM 2 said Coleman had spelled his name several

different ways over the course of their communications.

        21.     VICTIM 2 said Coleman claimed to be an engineer who was on an extended

trip overseas. Coleman led VICTIM 2 to believe that he had attempted to return to the United




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States several times during their relationship, but he always had an excuse as to why he had to

remain overseas.

       22.      VICTIM 2 said that, on Coleman's behalf, she had accepted tens of thousands

of dollars from other individuals.

       23.      VICTIM 2 said that, at Coleman's direction, she had worked with

COCONSPIRATOR I-same person "Dion Wilson" told VICTIM 1 was his banker-to

transfer money and valuables.

       24.      According to VICTIM 2, Coleman directed her to buy Rolex watches and to

mail them to AMUZU, which she did. VICTIM 2 gave law enforcement a copy of a receipt

for one such mailing, which was addressed to DELOVE KOFI AMUZU at 11 Camelot Circle

Apt. J in Fairfield, Ohio.

       25.      VICTIM 2 said that, at some point, Coleman told VICTIM 2 he wanted to

come back to the United States to start a new business. He explained to VICTIM 2 that he had

multiple investors lined up and would need additional funding from her. Coleman then

connected her to DELOYE AMUZU, to whom she transferred tens of thousands of dollars at

Coleman's direction.

        26.     Bank records show that, in November 2018, VICTIM 2 sent approximately

$74,300 to Obdomdel Management Agency LLC and to bank accounts in AMUZU' s name.

Specifically, on November 26, 2018, a counter deposit for $36,500, drawn from VICTIM 2's

account at PNC Bank, cleared to an account in AMUZU's name at BB&T Bank ("BB&T

Account 7112"). Shortly thereafter, on November 30, 2018, a wire transfer for $35,800 from

VICTIM 2's PNC Bank account cleared to Obdomdel Management LLC's Bank of America

Account 9130.



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       F.      VICTIM 3 began an online romantic relationship with "Hannah Arthur,"
               who directed him to send money and valuables to AMUZU, allegedly to
               help her pay taxes on millions of dollars in gold she was inheriting.

       27.     On November 10, 2020, an FBI agent interviewed VICTIM 3. I have reviewed

the agent's interview report, as well as supporting documentation provided by VICTIM 3's

daughter.

       28.     VICTIM 3 said that, in March 2020, he met an individual using the name

"Hannah Arthur" (hereafter "Hannah") on a dating website called "Rendezvous." Although

VICTIM 3 had never met Hannah in person, by exchanging messages on WhatsApp and

Google Hangouts VICTIM 3 and Hannah developed what VICTIM 3 believed was a romantic

relationship. VICTIM 3 said Hannah had an American accent.

       29.     VICTIM 3 said that Hannah told him she was a student in Ghana who had just

inherited $8,500,000 in gold bars and other various currencies. Hannah asked VICTIM 3 to

send money to pay the taxes, fees, and tariffs necessary to release the gold bars.

       30.     VICTIM 3 said Hannah had directed him to send cashier's checks to several

individuals to get the gold bars released. VICTIM 3 said that, among the people to whom

Hannah directed VICTIM 3 to send money was AMUZU, at three different addresses in Ohio.

       31.     VICTIM 3 said that Hannah had also directed him to send multiple cell phones

to AMUZU at an address in Bronx, New York.

       32.     VICTIM 3' s daughter provided a spreadsheet showing payments and

shipments VICTIM 3 had made at Hannah's direction. Among the payments and shipments

listed were the following:




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                                                 [another known victim, G.H.]
              deposit
7/30/2020     $101,000.00 cashier's check        [G.H.]
              deposit
8/14/2020     $26,500.00 cash deposit            Delove Kofi Amuzu
                                                 [Redacted], Fairfield, OH 45104
 9/12/2020    $65,000.00 cashier's check         Delove Kofi Amuzu, [Redacted],
              deposit                            Cincinnati, OH 45251
 10/9/2020    16 iPhones                         Delove Kofi Amuzu, [Redacted], Bronx,
                                                 NY 10452

       33.    Bank records show that on August 14, 2020, a counter deposit for $26,500

cleared to an account at BB&T with an account number ending in 1162 ("BB&T Account

1162"). This payment corresponds to one that VICTIM 3's daughter's spreadsheet lists as a

"Cash Deposit" made by VICTIM 3 on August 14, 2020. As of August 14, 2020, AMUZU

was the sole owner of and signer on BB&T Account 1162.

       34.    Bank records also show that on September 14, 2020, a counter deposit from

VICTIM 3's Wells Fargo cashier's check#6888903115, for $65,000, cleared to AMUZU's

BB&T Account 1162. This payment appears to correspond to another payment that VICTIM

3's daughter's spreadsheet lists as a "cashier's check deposit," which VICTIM 3 made on

September 12, 2020.

   G. In 2018, VICTIM 4 began an online romantic relationship with "Noel
      Hernandez" and was directed to send money to AMUZU's PayPal account.

       35.    In November 2018, VICTIM 4 submitted an IC3 Complaint in which he

claimed to have been the victim of a romance fraud scheme involving AMUZU.




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       36.     In April 2020, an FBI agent interviewed VICTIM 4, who explained that in

September 2018 he had gotten into an online relationship with "Noel Hernandez," who

claimed to be a sergeant in the U.S. Army. According to VICTIM 4, Hernandez originally

claimed to be stationed in London but later claimed she had moved to Africa. Hernandez told

VICTIM 4 she could not provide specifics as to her location for security reasons.

       37.     Eventually, Hernandez told VICTIM 4 that she had an inheritance coming to

her in the form of gold and diamonds but that the gold had gotten "hung up" in customs.

Hernandez told VICTIM 4 that she needed money to get the gold released. VICTIM 4

explained that, at Hernandez's direction, he ended up sending money to five different

locations, for a total of approximately $150,000 in loss.

       38.     VICTIM 4 said he was directed to send money to DELOVE AMUZU via

PayPal. In his IC3 Complaint, VICTIM 4 said AMUZU's email address was

DELOVEAMUZU98@YAHOO.COM.

       39.     I reviewed financial records showing that on November 9, 2018, VICTIM 4

sent three payments via PayPal, totaling $12,000, to a PayPal account in the name of DE

LOVE AMUZU, which has a registered email address of

DELOVEAMUZU98@YAHOO.COM.

       40.     Bank records also show that on October 30, 2018, and November 2, 2018,

VICTIM 4 wired $4,000 and $10,000, respectively, to an account in the name ofObdomdel

Management LLC (on which account AMUZU was then the sole signer). The memo line on

both transfers was "Securities/[VICTIM 4's last name]/Hernandez."




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     H. Evidence from DELOVEAMUZU98@YAHOO.COM shows that AMUZU
        knowingly participated in the mail fraud conspiracy.

         41.   Records from Oath Holdings relating to

DELOVEAMUZU98@YAHOO.COM show that the account is registered in AMUZU's

name.

         42.   The account contains many emails showing that AMUZU controlled the

account. For example, emails the account received from banks in 2018, 2019, and 2020 are

addressed to "De-love," "Delove Amuzu," and "DE LOVE K. AMUZU."

         43.   The account also contains many emails showing that AMUZU knowingly

participated in the fraud scheme described above. For example, on December 9, 2018, the

account received an email from an investigator at Wells Fargo about the $101,000 transfer

from VICTIM 1. The investigator asked where AMUZU had gotten the check, what it was

supposed to be for, and what he had done with the proceeds. AMUZU wrote back, in part:

"[O]n the check that was deposited in my Wells Fargo account of$101,000 it was a costumer

[sic] who deposited it at the branch her self for a payment of a house." When the investigator

asked for more information, AMUZU wrote back: "I did not purchase the house she asked me

to do a payment to the people she is buying it from and I did so." When the investigator asked

to whom AMUZU had transferred the money, AMUZU responded, "You can contact

[VICTIM 1] for every information."

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                                          CONCLUSION

        44.    Based on the foregoing, I respectfully request that the Court issue the proposed

 criminal complaint and arrest warrant.




                                                    ~~
                                                    Special Agent
                                                    Federal Bureau of Investigation


 Sworn to before me this _21st
                           _ day of December, 2021.




United States Magistrate Judge




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